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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
TYKEIA T. WRIGHT,
Plaintiff,

v. 1 :18-cv-08449

PREMIER RECOVERY GROUP, INC.,

 

Defendant.

AFFIDAVIT FOR ENTRY OF DEFAULT
STATE OF ILLINOIS
COUNTY OF COOK

Nathan C. Volheim, being duly swom, says that he is an attorney for Plaintiff TYKEIA T.
WRIGHT in the above-entitled action; that the complaint and summons in this action were served
on Defendant PREMIER RECOVERY GROUP, INC. on January 10, 2019; that service was made
by Michael Hadden, a certified process server and effected on David Peltan, Esq., the authorized
registered agent for Defendant; that Defendant is not an infant, not in the military, and not an
incompetent person; that the time in which Defendant may plead or otherwise defend has expired;
that the Defendant has not plead, answered or otherwise defended, and that the time for Defendant
to answer, plead or otherwise defend has not been extWed.

 

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Nathan Ef£/lon¥eim, Esq. #6302103
Counsel for Plat'ntz_`[f

swoRN To AND sUBscRIBED before me this l°*' day of F¢\°“»"_'Q , 2019.

,MM/M

Notary

My commission expires NQ§|¢W\L`€K is , 20 § .

 

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KIRAN WAD|A

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